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    13 assignee for the benefit of creditors of MORNINGSIDE RECOVERY, LLC
       MORNINGSIDE RECOVERY, LLC
    14
    15                         UNITED STATES DISTRICT COURT

    16                      CENTRAL DISTRICT OF CALIFORNIA

    17                               SOUTHERN DIVISION

    18
    19 ABC SERVICES GROUP, INC., a
       Delaware corporation, in its capacity as   Case No. 8:19-cv-00243 DOC (DFMx)
    20 assignee for the benefit of creditors of
       MORNINGSIDE RECOVERY, LLC, a               Hon. David O. Carter
    21 California limited liability company,
                                                  REDACTED EXHIBITS TO FIRST
    22                 Plaintiff,                 AMENDED COMPLAINT FOR
                          v.                      BREACH OF EMPLOYEE
    23
                                                  WELFARE BENEFIT PLAN
    24 HEALTH NET OF CALIFORNIA,                  (RECOVERY OF PLAN BENEFITS
       INC.; HEALTH NET LIFE
                                                  UNDER E.R.I.S.A.) [29 U.S.C. §
    25 INSURANCE COMPANY; HEALTH
       NET, INC.; CENTENE                         1132(a)(1)(b)]
    26 CORPORATION; and DOES 1 through
       20, Inclusive
    27
                      Defendants.
    28
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                                                   Exhibit A, Page 000019
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    1                                   EXHIBIT B
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   1
                                       CERTIFICATE OF SERVICE
   2
   3 I hereby certify that on May 23, 2019, I caused the
   4    [REDACTED] EXHIBITS TO FIRST AMENDED COMPLAINT FOR BREACH OF
       EMPLOYEE WELFARE BENEFIT PLAN (RECOVERY OF PLAN BENEFITS UNDER
   5                     E.R.I.S.A.) [29 U.S.C. § 1132(a)(1)(b)]

   6    to be served upon counsel in the manner described below:
   7
        Participants in the case who are registered CM/ECF users will be served by the Central District
   8    CM/ECF system.

   9         VIA THE CENTRAL DISTRICT CM/ECF SYSTEM
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  24         Counsel for Defendants

  25
  26
                                             /s/ Craig B. Garner
  27                                           Craig B. Garner
                                             Counsel for Plaintiff
  28
